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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                               AT LOUISVILLE
______________________________________________________________________________

BRIAN PERCENTIE,                                       CASE NO. 3:15-cv-00393-CRS
          Plaintiff,
                                                       ELECTRONICALLY FILED
       v.
                                                       Judge Charles R. Simpson, III
NATIONAL CREDIT SYSTEMS, INC.;                         Magistrate Judge Colin H. Lindsay
EQUIFAX INFORMATION
SERVICES, LLC; TRANS UNION, LLC;
and EXPERIAN INFORMATION
SOLUTIONS, INC.;
            Defendants.
______________________________________________________________________________

  STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
                    DEFENDANT TRANS UNION, LLC ONLY
______________________________________________________________________________

       Plaintiff Brian Percentie by counsel, and Defendant Trans Union, LLC (“Trans Union”),

by counsel, hereby stipulate and agree that all matters herein between them have been

compromised and settled, and that Plaintiff’s cause against Trans Union only should be

dismissed, with prejudice, with each party to bear its own costs and attorneys’ fees.

                                                       Respectfully submitted,



Dated: September 4, 2015                                s/ David W. Hemminger (w/consent)
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                                                       Counsel for Plaintiff Brian Percentie




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Dated: September 4, 2015                     s/ Andrew S. Meyers
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                                            Andrew M. Lehmann, Esq. (IN #31151-06)
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                                            Counsel for Defendant, Trans Union, LLC




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 4th day of September, 2015. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s electronic filing.

David W. Hemminger, Esq.                              John M. Williams, Esq.
hemmingerlawoffice@gmail.com                          Williams@rwktlaw.com

        The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 4th day of September,

2015, properly addressed as follows:

None.



                                                          William R. Brown, Esq. (IN #26782-48)
                                                          Andrew M. Lehmann, Esq. (IN #31151-06)
                                                           (admitted Pro Hac Vice)
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                                                          Counsel for Defendant, Trans Union, LLC




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